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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF INDIANA
                                      FORT WAYNE DIVISION

 IN THE MATTER OF:                                          )
                                                            )
 TREVOR JUSTIN WALKER and                                   )     CASE NO. 18-10633
 MELISSA SUE WALKER,                                        )     Chapter 7
                                                            )
                              DEBTORS.                      )


                                         CERTIFICATE OF SERVICE

         Martin E. Seifert, Trustee, certifies that on the 4th day of October, 2018, a true and correct

copy of the attached Amended Notice of Motion and Opportunity to Object was served, via the

court’s electronic case filing system, or first- class U.S. Mail, postage prepaid, to those creditors and

interested parties listed on the attached sheet(s).

                                                                  Respectfully submitted,

                                                                  CHAPTER 7 TRUSTEE
                                                                  444 EAST MAIN STREET
                                                                  FORT WAYNE, INDIANA 46802
                                                                  TELEPHONE: (260) 426-0444
                                                                  FAX: (260) 422-0274
                                                                  EMAIL: mseifert@hallercolvin.com

                                                                  BY:/s/ Martin E. Seifert
                                                                      MARTIN E. SEIFERT
                                                                      I.D. #16857-02




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

 IN THE MATTER OF:                                )
                                                  )
 TREVOR JUSTIN WALKER and                         )     CASE NO. 18-10633
 MELISSA SUE WALKER,                              )     Chapter 7
                                                  )
                        DEBTORS.                  )

            AMENDED NOTICE OF MOTION AND OPPORTUNITY TO OBJECT

         On September 5, 2018, Martin E. Seifert, Trustee, filed his Application to Retain BK Global
Real Estate Services and ABC Realty to Procure Consented Public Sale Pursuant to 11 U.S.C.
§§ 327, 328 and 330 asking the Court to authorize the Trustee to hire BK Global and ABC Realty
as realtors for the sale of real estate owned by the Debtors and to pay an administrative expense upon
sale of the real estate pursuant to the Listing Contract. A copy of the Application is attached. A
copy of the Court’s September 6, 2018, Order to serve notice is attached.

        Your rights may be affected. You should read these papers carefully and discuss them with
your attorney. If you do not have an attorney, you may wish to consult one.

        If you do not want the Court to grant the motion, then on or before October 25, 2018, you
or your attorney must:

        1.       File a written objection to the motion, which should explain the reasons why you
object, with the Clerk of the United States Bankruptcy Court at:

                       1300 South Harrison Street
                       Fort Wayne, Indiana 46802

       If you mail your response to the Court, you must mail it early enough so that it will be
received by the date it is due.

       2.      You must also mail a copy of your objection to:

                       Martin E. Seifert, Trustee
                       444 East Main Street
                       Fort Wayne, Indiana 46802

                       U.S. Trustee
                       555 One Michiana Square
                       100 East Wayne Street
                       South Bend, Indiana 46601
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                            Steven J. Glaser, Esq.
                            Glaser & Ebbs
                            132 East Berry Street
                            Fort Wayne, Indiana 46802

       If you do not file an objection by the date it is due, the Court may grant the relief requested
without holding a hearing. If you do file an objection, the Court will set the motion for hearing,
which you or your attorney will be expected to attend.

         DATED: October 4, 2018

                                                                 Respectfully submitted,

                                                                 CHAPTER 7 TRUSTEE
                                                                 444 EAST MAIN STREET
                                                                 FORT WAYNE, INDIANA 46802
                                                                 TELEPHONE: (260) 426-0444
                                                                 FAX: (260) 422-0274
                                                                 EMAIL: mseifert@hallercolvin.com

                                                                 BY:/s/ Martin E. Seifert
                                                                     MARTIN E. SEIFERT
                                                                     I.D. #16857-02




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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

IN RE:                                )                  Case No. 18-10633
                                      )                  Chapter 7
TREVOR JUSTIN WALKER and              )
MELISSA SUE WALKER,                   )
                                      )
                Debtors.              )

 CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL REAL ESTATE
               SERVICES AND ABC REALTY TO PROCURE
    CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§ 327, 328 AND 330


         Martin E. Seifert, as Chapter 7 Trustee (the “Trustee”) for the above referenced Debtors

(the “Debtors”), by and through the undersigned counsel, files this Application for entry of an

order authorizing retention of (1) BK Global Real Estate Services (“BKRES”) under the terms set

forth in the agreement (the “BKRES Agreement”) attached to BKRES’ Declaration of Realtor at

Exhibit A (the “BKRES Declaration”) and (2) ABC Realty (“Listing Agent”) under the terms of

the agreement (the “Listing Agreement”) at Exhibit B. In support thereof, the Trustee respectfully

states as follows:

                                    PRELIMINARY STATEMENT

         Trustee requests approval to retain BKRES and local licensed Listing Agent (individually

and collectively referred to as “Broker or Brokers”), at no cost to the estate, to negotiate with and

persuade the first lienholder on certain real property in which the estate has no equity to (1) allow

Trustee to sell such property at the highest price that the market will bear, (2) waive the resulting

deficiency claim and (3) pay an 11 U.S.C. § 506 surcharge to provide a carve out for the benefit

of the estate and pay all other sale expenses, including a 6% brokerage commission that will be

shared equally by BKRES and Listing Agent only upon the closing of a sale that is approved by

this Court.

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       BKRES and its affiliates have proprietary technology and a national team of experienced

loan servicing specialists, asset managers, negotiators, trustee relation managers, real estate

brokers and agents, closing specialists and attorneys with extensive experience in procuring the

consent of mortgage lenders and servicers to sell over-encumbered properties and provide

significant cash recoveries to selling estates with no equity, through the Consented Sale™ process

described herein.

       The proposed agreements are attached and provide that BKRES and Listing Agent will not

be entitled to any compensation from the estate whatsoever under any circumstances. They will

only receive and share a customary brokerage commission that is paid by secured creditor as an

11 U.S.C. § 506 surcharge approved by this Court.

       The Trustee (1) believes that hiring BKRES and Listing Agent to pursue a Consented

Sale™ will likely result in secured creditor paying a carve out for the benefit of the estate with

proceeds from the public sale of an asset in which the estate has no equity and (2) expects to obtain

secured creditor’s agreement to a Consented Sale™, and bring a separate motion seeking this

Court’s approval of the procedures, terms and conditions by which the over-encumbered property

will be sold.




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                                           JURISDICTION

       1.      This Court has jurisdiction to consider this Application pursuant to 28 U.S.C.

§§ 157 and 1334.       This matter is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2)(A), (M), (N), and (O).

       2.      Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

                                           BACKGROUND

       3.      On April 15, 2018, the Debtors commenced this case by filing a voluntary Petition

for Relief under Chapter 7 of the United States Bankruptcy Code.

       4.      Thereafter, the Trustee was appointed as the Chapter 7 Trustee in this case.

       5.      The Trustee held and concluded the 341 meeting on May 21, 2018.

       6.      The Debtors are the sole owners of real property located at 773 N 100 W, Dunkirk,

IN 47336 (the “Property”).

       7.      The Debtors have no equity in the Property. The Debtors’ schedules reflect that

the Property is currently worth $90,000.00 but is subject to a first mortgage lien (the “Senior

Mortgage”) in favor of PENNY MAC (the “Secured Creditor”) in an amount exceeding

$81,456.00.

       8.      The Trustee, after reviewing certain materials, including (without limitation) the

BK Score™ 1, sales analysis report and opinion of value for the Property provided by BKRES and

Listing Agent, has determined it to be in the best interest of the Debtors’ estate and all creditors to

negotiate to obtain Secured Creditor’s agreement and consent (“Consent”) to do the following,

with the proviso that the hired professionals, BKRES and Listing Agent, shall not participate in

the sale and purchase of any estate property except as hired Brokers:

               a. sell the Property to whichever third party Trustee determines to have made the
                  best qualified offer during a public sale approved by the Court;


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                  b. release the Senior Mortgage and otherwise waive all of its claims against the
                     estate with respect to the Property (including any deficiency claims resulting
                     from the proposed sale); and

                  c. agree to a 11 U.S.C. § 506 surcharge to pay all of the customary expenses
                     associated with the proposed sale, including the payment of a 6% real estate
                     brokerage commission to BKRES and Listing Agent and reimbursement of
                     their out-of-pocket expenses, and provide a meaningful carve out for the benefit
                     of allowed unsecured creditors of the Debtors’ estate.

         9.       Trustee expects BKRES and Listing Agent to obtain Secured Creditor’s full, final

and unconditional Consent and bring a separate motion seeking an order approving the sale of the

Property (the “Motion to Approve Sale”) within several months of the entry of the order sought

by this Application.

         10.      By this Application, the Trustee requests authority, pursuant to §§ 327, 328(a) and

330 of the Bankruptcy Code, to (a) retain BKRES and Listing Agent to provide the necessary

professional assistance and representation required by the Trustee to fulfill the Trustee’s

duties pursuant to 11 U.S.C. § 704 in order to procure Secured Creditor’s Consent, (b) engage

Brokers BKRES and Listing Agent to provide reasonable and necessary property preservation,

maintenance, and upkeep services to the subject estate Property to facilitate the sale of the Property

for the benefit of the Secured Creditor(s) and bankruptcy estate, (c) reimburse Brokers in the

maximum amount not to exceed $500.00 for any approved, out-of-pocket costs incurred by

Brokers associated with property preservation, maintenance, and upkeep of the subject Property

in connection with a potential sale, upon the availability of funds from the estate, without the need

for further Order, and (d) approve Secured Creditor’s payment of the fees described herein and

below directly to BKRES and Listing Agent at closing of the sale of the Property, if and when the

Consent and Motion to Approve Sale are granted.


1
  The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property attributes
in order to consistently measure sales confidence and predict market value.
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                                                  APPLICATION

           11.     Section 328(a) of the Bankruptcy Code provides, in relevant part, that a debtor or

trustee “with the court’s approval, may employ or authorize the employment of a professional

person under section 327...on any reasonable terms and conditions of employment, including on a

retainer, on an hourly basis, on a fixed percentage or fee basis, or on a contingent fee basis.” 11

U.S.C. § 328(a). Section 330 of the Bankruptcy Code permits the Court to “award to a trustee…

or a professional person employed under section 327…(A) reasonable compensation for actual,

necessary services rendered [by such party]… and (B) reimbursement for actual, necessary

expenses.” 11 U.S.C. § 330(a)(1).

           12.     As further described in the materials attached to their affidavits, BKRES 2 and

Listing Agent have extensive experience obtaining the consent and agreement of mortgage lenders

and servicers to the sale of their collateral and resolution of any resulting unsecured claims in order

to produce a recovery for estates from over-encumbered assets in which the estate has no equity.

[An expedited sale of the estate Property securing an allowed secured claim in this case pursuant

to Section 363 of the Bankruptcy Code will enhance the bankruptcy relief sought by the Debtors,

provide a recovery of value for the bankruptcy estate that will result in a meaningful distribution

to unsecured creditors, and provide direct equitable benefits to the Secured Creditor in the

following ways:

                   a.      in exchange for an expedited free and clear sale and realization of the
                   current fair market value of the Property by the Secured Creditor, the Debtors’
                   estate will be released from the Senior Mortgage and any deficiency claims
                   resulting from the sale;

                   b.      an expedited free and clear sale of the Property will provide a loss mitigation
                   option that enables the Secured Creditor and Debtors to avoid the substantial
                   expense of foreclosure proceedings and the damaging impact of foreclosure on the
                   financial recovery of the bankrupt Debtors and their ability to obtain future credit;

2
    BKRES is the broker affiliate of BK Global (http://www.bkginc.com/).
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               c.     an expedited free and clear sale of the Property will provide a negotiated
               cash payment as a meaningful recovery of value for the bankruptcy estate and the
               unsecured creditors;

               d.      an expedited free and clear sale of the Property will eliminate the need for
               a foreclosure sale and enable the Secured Creditor to limit its expenses to legal
               costs, property preservation costs, insurance, and taxes; and,

               e.      the Debtors’ voluntary surrender of the Property to the administration of the
               Trustee and the Secured Creditor’s consent to the sale of the Property will enable
               the Trustee to use the forces of a free market to establish the true fair market value
               of the Property for the benefit of all interested and affected parties.]

       13.     The Trustee believes that the highest and best value for the Property will be

generated through a sale in which the Property is widely marketed to the public and offered at the

highest price that the market will bear. The Trustee further believes that such a sale is in the best

interest of the Debtors’ estate, but can only be achieved if Secured Creditor’s Consent is first

obtained. That is why the Trustee believes that retaining BKRES and Listing Agent to obtain

Secured Creditor’s Consent is in the best interests of the Debtors’ estate.

       14.     In no event will the estate have any obligation to pay BKRES or Listing Agent for

their services, or to pay for customary title and closing services. The terms of the BKRES

Agreement and Listing Agreement and this Application provide that BKRES and Listing Agent

are only entitled to payment if and when (a) Secured Creditor grants its Consent, (b) the Motion

to Approve Sale is granted and (c) the Property is sold, in which event BKRES and Listing Agent

will receive and share a 6% real estate brokerage commission and obtain reimbursement of any

out-of-pocket expenses and payment for all other expenses associated with the sale of the Property

from the sale proceeds at closing in accordance with the order approving the sale.

       15.     BKRES and Listing Agent will not be entitled to any fees if Secured Creditor does

not grant its Consent or the Court does not grant the Motion to Approve Sale.




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       16.     The Trustee submits that the terms of employment and compensation as set out in

the BKRES Agreement and Listing Agreement are reasonable in light of the extensive experience

of BKRES and Listing Agent and the nature of the services they provide.

       17.     BKRES attested that it is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and

2016(a). Attached hereto as Exhibit A is the Declaration of Disinterestedness of BKRES. BKRES

also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any

individual or entity other than Listing Agent, or a buyer’s Agent, if applicable.

       18.     Listing Agent attested that it is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and

2016(a). Listing Agent also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or

share its fee with any individual or entity other than BKRES, or a buyer’s Agent, if applicable.

                                           CONCLUSION

       For the foregoing and all other necessary and proper purposes, the Trustee seeks the Court’s

authority to retain BKRES and Listing Agent in this case, and requests that the Court approve the

compensation arrangements set forth in the BKRES Agreement and Listing Agreement and this

Application pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code.

Dated: September 5, 2018                              Respectfully submitted,

                                                      CHAPTER 7 TRUSTEE
                                                      444 EAST MAIN STREET
                                                      FORT WAYNE, INDIANA 46802
                                                      TELEPHONE: (260) 426-0444
                                                      EMAIL: mseifert@hallercolvin.com

                                                      BY: /s/ Martin E. Seifert
                                                         MARTIN E. SEIFERT
                                                          I.D. #16857-02



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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and exact copy of the above and foregoing

Trustee’s Application to Retain BK Global Real Estate Services and ABC Realty to Procure

Consented Public Sale Pursuant to 11 U.S.C. §§ 327, 328 and 330 has been sent by first class,

United States mail, postage prepaid, or electronically by the Court’s electronic filing system, this

5th day of September, 2018 to:


               Steven J. Glaser, Esq.
               glaser.bankruptcy@frontier.com

               U.S. Trustee
               USTPRegion10.SO.ECF@usdoj.gov

                                                     /s/ Martin E. Seifert
                                                     MARTIN E. SEIFERT




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July 27, 2018

Martin Seifert
Chapter 7 Trustee
444 East Main St
Fort Wayne, IN 46802
E-mail: mseifert@hallercolvin.com

Re:     Trevor Walker & Melissa Walker
        Agreement to Negotiate Real Estate Sale for 773 N 1100 W, Dunkirk, IN 47336

Dear Trustee Seifert:
This letter confirms the Agreement to Negotiate a Real Estate Sale for the referenced property (“Property”)
and confirms the undersigned’s (“our,” “we” or “us”) agreement to negotiate a Real Estate Sale on the
following terms and conditions (collectively, the “Agreement”) with the provision that the hired
professionals, BKRES or Local Agent, shall not participate in the sale and purchase of any estate property
except as hired brokers:

        1.     Following your signature approving this Agreement, we and our affiliate, Bankruptcy
Global Holdings, LLC, D/B/A Bk Global will make commercially reasonable efforts to procure the consent
and agreement (“Consent”) of the senior mortgagee (“Secured Creditor”) to:

                a.      sell the Property under 11 U.S.C. § 363(b) to whichever third party you
        determine to have made the best qualified offer during a public sale approved by the court
        or agree to 11 U.S.C. § 363(k) and place a credit bid on the Property from the estate;

                b.       release its lien with respect to the Property; and

                c.        agree to a 11 U.S.C. § 506 surcharge to (x) pay our fee and expenses, any
        commission payable to the local real estate broker and all other fees and expenses
        associated with the sale, and (y) provide a carve-out for the benefit of allowed unsecured
        creditors of the estate.

         2.        We will select a local real estate broker to co-list the property. You will retain both BK
Global and the local real estate broker to market the Property for sale to the public under a separate listing
agreement. We will assist them by coordinating all aspects of the listing and sale process that involve
Secured Creditor’s Consent. We will also prepare and deliver any and all reports and information about
the Consent, listing and sale process that you reasonably require. However, the local listing broker will be
solely responsible for providing you with all other brokerage services associated with selling the Property,
including inspecting it to confirm condition and occupancy, preparing any comparative market analysis
and/or Broker’s Price Opinion (BPO), recommending a listing price, preparing marketing materials,
including photographs and sign-age, and displaying the same at the Property and on the Multiple Listing
Service, conducting all open houses and showings, and helping you evaluate and negotiate purchase
offers, all at their sole cost and expense.


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Martin Seifert, Trustee
Agreement to Negotiate Consented Sale
773 N 1100 W, Dunkirk, IN 47336
Trevor Walker & Melissa Walker
         3.       The term of this Agreement will commence when you sign and return a copy of this letter
and the court approves it. This Agreement will automatically terminate upon the closing of the sale of the
Property, or it may be terminated by either party for any or no reason after 180 days from commencement.
In addition, this Agreement will be terminated if the Chapter 7 Trustee files a Report of No Distribution,
files a Notice of Abandonment of the subject property, or submits a Trustee’s Final Report to the Office of
the United States Trustee.

        4.      There will be no fees due to, or payable by, either party under this Agreement, and neither
party will be reimbursed by the other party for any cost or expense. Subject to the foregoing, you
acknowledge and agree that our fee and expenses will be paid by Secured Creditor as a 11 U.S.C. § 506
surcharge, if and to the extent that Secured Creditor agrees, and the court approves. You further
acknowledge and agree that, if the Property is sold to a third party, we may receive some or all of our fee
and expenses under a fee agreement with the local listing broker.

         5.      You will make commercially reasonable efforts to assist us in procuring Secured Creditor’s
Consent and marketing and selling the Property and hereby appoint us as your agent to act on your behalf
as trustee in connection with the same.

         6.      We acknowledge and agree that (a) you are not executing this Agreement in your
individual capacity, but solely as trustee of the estate, (b) we do not and will not have any right or claim
with respect to the estate and (c) our sole recourse for payment of our fee and expenses will be to Secured
Creditor under the Consent and the local listing broker under our fee agreement, but only if and to the extent
that the same are approved by the court.

        7.      This Agreement constitutes our complete agreement on this matter and supersedes all prior
agreements and representations concerning the same. It may not be modified or amended except in a writing
signed by both parties.

Please let us know if you have any questions regarding the foregoing or enclosed materials. Otherwise,
kindly confirm your agreement by signing and returning this letter to retain us at your earliest convenience.

We look forward to working with you.

Sincerely,
BK GLOBAL:
BK GLOBAL REAL ESTATE SERVICES, a Florida limited liability company

By:
         Patrick Butler, Broker-in-Charge
Acknowledged and agreed as of the date set forth above.

TRUSTEE:


MARTIN SEIFERT, not individually but solely as Trustee in the referenced matter.




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'Pt.HitU.J 44   4 #ftHJkt """""' "' '"'
         INDIANA
         ASSOCIATION OF
UREALTORS'.INC.                                                                           Listing Contract
                                                                           (EXCLUSIVE RIGHT TO SELL)
  1                Date:-----------
  2
 3
 4
 5
 6
 7
 8                -------------County,-------------' Indiana----------------
 9                 ~co~~~~~~a~-~-~~~~~~~·---~--~--~-~~~~~------~~~-~-
10                                   ,3,___,_A.~{_·-1/4/...._.15,...,0-"IJl'-:~J-:..-{';.Y(,,,,..1()-+-"-ltJ-Hl-1-f-1#'+--l)~I"""-'-l\.,_/_£,_··+-7-::::3,,..,3,....,(ff:P---- (the "Property")
                   _ _ _ __,_7_".._L....
11
12                This contract begins on-------------~ and expires at 11 :59 P.M. - - - - - - - - - - - - - - - - -
13                subject to the following terms and conditions:
14
15                List Price: $                                                             Possession:-----------------..,.---:-,.,..--:--:-
16                Seller represents that Seller Dis                0
                                                                   is not delinquent on any loans which could constitute a lien on the Property and the total
17                loans affecting the Property do not exceed the list price and costs of sale. Seller is not a party to any bankruptcy proceeding.
18                Also, Seller has the capacity to convey the Property by a general Warranty Deed or by                                . Did the Seller a~re
19                ownership of the property at a tax sale, Sherriffs sale, any judicial sale, or mortgage foreclosure proceeding'?  Yes D No. Seller Dis LJ is        0
20                not a "foreign person" (Individual or entity). Seller Dis Dis not subject to the Foreign Investment In Real Property Tax Act. See
21                http//www.irs.gov/publicalions/p515ftndex.hlrnl.
22

                                                                                         §
                 g
23                Terms of Sale: The Property may be sold for cash or any                     of the following methods indicated below:
24                      Conventional Mortgage                                                  Conditional Sales Contract
25                      Insured Conventional Mortgage                                          FHA
26                      Assumpy9n of Existing Mortgage Balance                                 VA
27                      Other Ul              A.
28                Seller agrees to pay costs associated with financing                         not to exceed
29                Property Offered for Sale: The above list price includes                    the Property and all improvements and fixtures permanently installed and affixed
30                thereto, except                                                                                                                Items of Personal Property
31                included in the s a l e : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
32
33
34
35                A.       EXCLUSIVE LISTING. The parties understand and agree that this is an exclusive right to sell, option, exchange or tease
36                         listing, and Broker shall be entitled to the commission hereinafter established which shall be payable upon the occurrence of any of
37                         the following events:
38
39                               1.       at the time the Property is sold, optioned, exchanged or leased by any person, including the Seller, to any person
40                                        during the term of this contract or any renewal or extension thereof,
41                               2.       at the time Seller, Broker, or any other real estate licensee secures a buyer or lessee ready, willing and able to
42                                        purchase, option, exchange or lease the Property for such price and terms as specified, or such other price or terms
43                                        as Seller may accept,
44                               3.       at the time an agreement Is entered into sell, exchange, option or lease during the term of this contract or any
45                                        renewal or extension thereof, and ultimately completed after the termination of this contract,
46                               4.       the Property is sold, optioned, leased, or exchanged by Seller or any person within                                   days
47                                        after termination of this Listing Contract to any person procured in whole or in part by the efforts of Broker, any cooperating
48                                        broker, or Seller, provided, however, this extension clause shall not apply if this Exclusive Listing Contract terminates and
49                                        the Property is listed exclusively with another licensed broker, or
50                               5.       at the time of default by Seller to any valid. fully executed, written agreement to sell, option, exchange, or lease the Property.
51
52                Any commission required to be paid under items 1., 3. and 4. above shall be due and payable at the closing of the transaction
53                when title to or any interest in the Property is transferred to a buyer or lessee. Any commission required to be paid under items 2. and 5.
54                above shall be due and payable upon demand by Broker. In the event that commission is not paid when due, then Broker shall be entitled
55                to interest rate of                                  % per annum until commission is paid.
56
57                If the Seller and a Buyer sign a Purchase Agreement, Option to Purchase Real Estate, Lease or the closing of the sale of the Property will not take
58                place until after the term of this contract, then this contract shall automatically be extended to coincide with the closing date or term of the lease .
59
60                B.       BROKER'S COMMISSION. The broker's commission charged by the listing Broker for services rendered, with respect to any
61                         listing is solely a matter of negotiation between Broker and Seller and is not fixed, controlled, suggested recommended or maintained
62                         by the Indiana Association of REALTORS®, Inc., the local Board/Association of REAL TORS®, the listing service (if applicable) or any
63                         person not a party to the contract.

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                                                                                                                                                                           Exhibit B
                             Case 18-10633-reg                            Doc 31
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 64   Seller shall pay in cash to Broker for services a total commission as follows:
 65
 66             1.   _!e_ % of the selling/exchange price or option selling price, but not less t h a n $ - - - - - - - - - - - - - - - -
 67
 68             2.   In the event of a purchase option, the Seller agrees to compensate Broker - - - - - - - - - - - - - - - - % of the
 69                  consideration paid for an Option to Purchase.
 70             3.   In the event of a lease, the Seller agrees to compensate B r o k e r - - - - - - - - - - - - - - - - - - - - % of all
 71                  amounts to be paid by a lessee to Seller over the term of the lease.
 72             4.   Other:--------------~------------------------~
 73
 74
 75   SELLER HAS BEEN ADVISED OF BROKER'S COOPERATIVE COMPENSATION POLICY, Including the amount of compensation that
 76   will be offered to cooperating brokers which is                    c?<
                                                        % of the selling price but not less than$                 •
 77
 78   C.   COMMISSION; ATTORNEY FEES. For purposes of this contract, the parties understand and agree that Broker's commission is deemed to
 79        be a share of the purchase money received by Seller. If any action is filed in relation to this Listing Contract, the unsuccessful party shall
 80        pay lo the successful party a reasonable sum for the successful party's attorney's fees and court costs.
 81
 82   D.   EARNEST MONEY. Broker is authorized to accept earnest money or any part of the purchase price and hold it in an escrow/trust
 83        account. In the event that Seller is to receive any portion of the earnest money, Seller authorizes Broker to keep any earnest money deposits
 84        up to the amount the commission would have been if the sale was completed in payment for Broker's expenses, services and advertising.
 85
 86   E.   LISTING SERIVCE INFORMATION (IF APPLICABLE). It is understood that the Broker may rely on the validity of the data pertaining to
 87        this Listing Contract which has been provided by the Seller. and the Seller agrees that Broker may disclose the data to a listing service,
 88        Internet or any advertising media and that the Broker may furnish notice to a listing service or other provider of all changes of information
 89        concerning the Property. Seller has been advised of the benefits of marketing a property through a listing service. Excluding a property
 90        from a listing service may result In a lower number of offers received and lower sales price.
 91
 92   F.   INFORMATION REGRDING PROPERTY. Seller acknowledges that the information on the Seller's Residential Real Estate Sales
 93        Disclosure Form (if applicable) and the information provided for the listing Is true and correct, and that Seller Is the owner of the Property
 94        or Is the authorized agent(s) of the true owner with complete and full authority to act on behalf of the owner(s). Seller further warrants that
 95        no other listing contract Is now in force with any other broker. The Seller(s) or authorized agent(s) agree to Indemnify, actively defend and
 96        hold Broker, Company and Its agents harmless from any damages, loss, liability and expenses including attorney fees and costs, arising
 97        from Incorrect information or failure to supply material Information regarding the Property, Including, but not limited to the condition of
 98        appliances, heating, plumbing, electrical, sewage, major defects in structure, mold and/or other environmental conditions or hazards,
 99        location of property lines, public and private restrictions on the use of the Property, any loss or liability in conjunction with this agreement
100        or with Broker or other licensees showing the Property including, but not limited to, injuries suffered by other licensees or prospective
101        buyers.
102
103   G.   ENVIRONMENTAL CONTAMINANTS ADVISORY/RELEASE. Seller acknowledges that Listing Broker, Selling Broker and all licensees
104        associated with Brokers are NOT experts and have NO special training, knowledge or experience with regard to the evaluation or
105        existence of possible lead-based paint, radon, mold and other biological contaminants ("Environmental Contaminants") which might exist
106        and affect the Property. Environmental Contaminants at harmful levels may cause property damage and serious illness, including but not
107        limited to, allergic and/or respiratory problems, particularly In persons with Immune system problems, young children and/or the elderly.
108
109        Seller agrees to consult with appropriate experts and accepts all risks for Environmental Contaminants and releases and holds
110        harmless all Brokers, their companies and licensees from any and all liability, including attorney's fees and costs, arising out of
111        or related to any inspection, inspection result, repair, disclosed defect or deficiency affecting the Property, including
112        Environmental Contaminants. This release shall survive the closing.
113
114   H.   AGENCY DISCLOSEURES.
115
116            1.    Office Policy. Seller acknowledges receipt of a copy of the written office policy relating to agency.
117
118            2.    Agency Relationship. LC. 25-34. 1-10-9.5 provides that a Licensee has an agency relationship with, and is representing, the
119                  individual with whom the Licensee is working unless (1) there is a written agreement to the contrary; or (2) the Licensee is merely
120                  assisting the individual as a customer without compensation. Licensee(Broker) represents the interests of the Seller as Seller's
121                  agent to sell the Property. Licensee owes duties of trust. loyalty, confidentiality, accounting and disclosure to the Seller. However,
122                  Licensee must deal honestly with a buyer and disclose to the buyer information about the Property. All representations made by
123                  Licensee about the Property are made as the agent of the Seller. Seller is advised that the Property may be sold with the assistance
124                  of other Licensees working as buyer agents and that Licensee's company policy is to cooperate with and compensate


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125                   buyer agents. Buyer agents are Licensees who show the Property to prospective buyers, but who represent only the Interests of
126                   the buyer. Buyer agents owe duties of trust, loyalty, confidentiality, accounting and disclosure to buyers. All representations
127                   made by buyer agents about the Property are not made as the agent of the Seller.
12B
129              3.   Limited Agency Authorization. Licensee or the managing broker may represent Buyer as a buyer agent if such a Buyer wishes
130                   to see the Property, Licensee has agency duties to both Seller and Buyer, and those duties may be different or even adverse.
131                   Seller knowingly consents to Licensee acting as a limited agent for such showings.
132
133                   If limited agency arises, Licensee shall not disclose the following without the informed consent, in writing, of both Seller and Buyer:
134                   a. Any material or confidential information, except adverse material facts or risks actually known by Licensee concerning the
135                          physical condition of the Property and facts required by statute, rule, or regulation to be disclosed and that could not be
136                          discovered by a reasonable and limely inspection of the Property by the parties.
137                   b. That a Buyer will pay more than the offered purchase price for the Property.
138                   c. That Seller will accept less than the listed price for the Property.
139                   d. Other terms that would create a contractual advantage for one party over another party.
140                   e. What motivates a party to buy or sell the Property.
141
142    In a limited agency situation, the parties agree that there will be no imputation of knowledge or information between any party and the limited
143    agent or among Licensees.
144
145    Seller acknowledges that Limited Agency Authorization has been read and understood. Seller understands that Seller does not have to
146    consent to Llcensee(s) acting as limited agent(s), but gives informed consent voluntarily to limited agency and waives any claims, damages,
147    losses, expenses, Including attorneys' fees and costs, against Licensee(s) arising from Llcensee's(s') role of limited agent(s).
148
149    I.   SELLER AUTHORIZATION AND COOPERATION. Seller agrees to provide Broker with the required information necessary for
150         entry into a listing service, Internet or other advertising media, to include electronic media and the use of any exterior/interior photos, If
151         applicable. Seller will cooperate with Broker by permitting the Property to be shown at reasonable times and authorizes Broker to place
152         and remove "For Sale" and other signs on the Property.
153
154              1.   Seller authorizes Broker and cooperating brokers, buyer brokers, Broker's personal assistants, contractors, Inspectors,
155                   appraisers and others reasonably necessary to market the Property to enter the Property. Seller acknowledges that a buyer may
156                   enter the Property with contractors, inspectors or appraisers without being accompanied by Broker. Buyer or Buyer's broker may
157                   take videos, photos and electronic images of the Property.
158             2.    Seller will provide Broker with key(s) necessary to access the Property.
159             3.    Seller authorizes Broker to have duplicate keys made.
160             4.    Seller agrees not to rent or lease the Property during the term of this Listing Contract without written notification to Broker.
161             5.    Seller agrees that Broker may work with buyer brokers to assist In performing Broker's duties according to the terms of this
162                   Listing Contract.
163             6.    Seller grants to Broker an exclusive, non-revocable, copyright license to disseminate, publish, modify and reproduce all of the
164                   content of this Listing Contract, including but not limited to, price and terms of financing on a closed sale, photographs, drawings,
165                   written descriptions, narratives, and motion pictures obtained or produced by Broker and Broker's agents pursuant to this Listing
166                   Contract to members of the Indiana Association of REALTORS®, Inc., to other brokers upon request and to a listing service,
167                   Internet or any advertising media. Seller agrees that Broker shall own all rights, title and interest, including but not limited to, any
168                   copyright In Property Images taken by Broker's photographers or agents.
169             7.    Seller authorizes Its utility companies to divulge all utility information to Broker and to provide copies of utility statements, If
170                   requested. Seller's utility companies are as f o l l o w s : - - - - - - - - - - - - - - - - - - - - - - - - - - -
171
172             8.  Seller authorizes its Homeowners Association (HOA) to divulge all HOA information to Broker and to provide copies of all HOA
173                 documents if requested. HOA Management Company:                                                                      . HOA Contact
17 4                Information:                                                                                                 . Seller acknowledges
175                 there are homeowner's association fees and/or assessments in the amount of $                                per _ _ _ _ _ __
176                 which have been paid by Seller through - - - - - - - - - - - - - - - - _ _ _ _ __
177             9. Seller authorizes its lending institution to divulge all mortgage information to Broker and to provide copies of the note and
178                 mortgage, if requested. Seller's lending institution i s - - - - - - - - - - - - - - - - - - - - - - - - - - -
179                                                    and the mortgage loan number is                                                              . If
180                 Seller's mortgage is subject to a pre-payment penalty, Seller agrees to give timely written notice to Seller's lender that the
181                 mortgage is to be pre-paid from the sale proceeds of the Property. It is acknowledged that Seller's failure to give this notice may
182                 result in a pre-payment penalty to be paid by Seller.
183             10. SellerO does 0does not authorize Broker to disclose the existence of written offers to Buyer. If Seller has authorized
184                 disclosure of the existence of offers on the Property, Broker shall also disclose, If asked, whether offers were obtained by the
185                 listing licensee, another licensee In the listing firm or by a cooperating broker. (NOTE: Disclosure of Individual and company
186                 names Is not necessary.)

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187   J.   LOCKBOX/KEY AUTHORIZATION/USE. To facilitate access to the Property, a lockbox installation                                  0 is 0 is not authorized, subject
188        following acknowledgements/conditions:
189
190            1.   Seller will safeguard valuables. Seller accepts responsibility for preparing the Property to minimize the likelihood of injury,
191                 damage and/or loss of personal property.
192            2.   Seller acknowledges Broker is not an Insurer of Seller's real estate and personal property and waives claims against
193                 Broker and Broker's authorized persons for loss and/or damage. Seller further agrees to indemnify and hold harmless Broker and
194                 all authorized persons from claims by third parties from all loss and/or damage.
195            3.   Seller instructs Broker to make reasonable efforts to notify Seller of showing requests. If Seller cannot be contacted to
196                 schedule a showing. Seller Qauthorizes Qdoes not authorize Broker to access the Property,
197            4.   Where a tenanl/lessee occupies the Property, it is Seller's sole responsibility to obtain tenanl/lessee consent to allow the
198                 use of a lockbox/key and consent for Broker to access the property.
199
200   K.   FAIR HOUSING. The parties acknowledge that the Fair Housing Act prohibits discrimination in housing because of race, color,
201        national origin, religion, sex, familial status, and handicap.
202
203        The National Association of REAL TORS® Code of Ethics also prohibits REAL TORS® from discriminating on the basis or sexual
204        orientation or gender identity.
205
206   L.   ADDITIONAL PROVISIONS.
207
208            1.   Seller understands the terms of this Listing Contract and has received a copy.
209            2.   The parties to this contract agree that it contains the entire agreement of the parties and cannot be changed except by
210                 their written consent.
211            3.   The parties to this contract agree that it is binding upon the parties' heirs, administrators, executors, successors and assigns.
212            4.   The parties to this contract agree that this AgreemenVcontract together with any and all subsequent forms, amendments
213                 and addenda may be executed simultaneously or in two or more counterparts, each of which shall be deemed an original, but all
214                 of which together shall constitute one and the same instrument. The parties agree that this AgreemenVcontract together with any
215                 and all subsequent forms, amendments and addenda may be transmitted between them electronically or digitally. The parties
216                 intend that electronically or digitally transmitted signatures constitute original signatures and are binding on the parties. The
217                 original documents shall be promptly delivered, if requested.
218            5.   Broker may refer Seller to other professionals, service providers or product vendors, including lenders, loan brokers, title
219                 insurers, escrow companies, inspectors, pest control companies, contractors and home warranty companies. Broker does no
220                 guarantee the performance of any service provider. Seller is free to select providers other than those referred or recommended
221                 to Seller by Broker.
222            6.   Broker is not and shall not be charged with the responsibility for the custody, management, care, maintenance, protection
223                 or repair of the Property nor for the protection or custody of any personal property located thereon, unless provided for in another
224                 written agreement.
225            7.   Seller consents to receive communications from Broker via telephone, U.S. mail, email, text message and facsimile at
226                 the numbers/addresses provided to Broker unless Seller notifies Broker in writing to the contrary.
227            8.   Where the word "Broker" appears, it shall mean "Licensee" as provided in i.C.25-34.1-10-6.8.
228            9.   Seller discloses to Listing Broker that Seller is licensed and holds License# - - - - - - - - - - - - - -
229
230   M.   WIRE FRAUD. If you receive any electronic communication directing you to transfer funds or provide nonpublic personal
231        information, EVEN IF THAT ELECTRONIC COMMUNICATION APPEARS TO BE FROM BROKER OR TITLE COMPANY, do not
232        respond until you verify the authenticity by direct communication with Broker or Title Company. Such requests may be part of a
233        scheme to steal funds or use your identity to commit a crime.
234


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241
242   AGENT                                                      IN LICENSE# SELLER'S SIGNATURE                                                                           DATE
243
244   - - - - - - - - - - - - - - - - - - - !1la!hi1                                              Se1~Yt', J.!J1t 1kJA"'t:, ..t!c 11-.R         ('S flt   le,     of Tie •.lo/
245
246
      BROKER OR COMPANY NAME                                    IN LICENSE#           PRINTED        .!H\{e i15 St<:         ab I /;,er
247
248   ACCEPTED BY: MANAGING BROKER                                         DATE       SELLER'S SIGNATURE                                                                  DATE
249
250
251                                                                                   PRINTED




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B
        INDIANA
        ASSOCIATION            OF
        REALTORS~ INC.                                                 LIMITED AGENCY AGREEMENT

                                                 (Licensee represents both Seller and Buyer or both Landlord and Tenant)
                                       (Managing Broker personally represents a client and affiliated Licensee represents other client)

 1           This Limited Agency Agreement ("Agreement") is d a t e d - - - - - - - - - - - - ______
 2
 3
 4
 5
 6
 7           B. SELLER/LANDLORD ( " S e l l e r " ) : - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
 8
 9
10
11          C. SUBJECT PROPERTY ( " P r o p e r t y " ) : - - - - - - - - - - - - - - - - - - - - - - - - - - - -
12
13
14
15          D. NAME OF LIMITED AGENTS(S) ( " L i c e n s e e " ) : - - - - - - - - - - - - - - - - - - - - - - - - -
16
17
18
19          ("Purchase price/listed price" shall also mean "lease rate," if applicable. "Licensee" shall refer to any broker acting as agent for a
20          party. "Limited agenf' means a licensee who, with the written and informed consent of all parties to a real estate transaction,
21          represents both the Seller and Buyer.)
22
23          E. LIMITED AGENCY AUTHORIZTION: The Licensee is authorized by Seller and Buyer to represent
24          both of them in this transaction. Seller and Buyer understand that this limited agency relationship may create
25          certain conflicts of interest, and that Licensee is representing two parties whose interests are different or
26          even adverse.
27
28          F. ADDITIONAL DISCLOSURES: Seller and Buyer acknowledge that Licensee shall not disclose the
29          following without the informed consent. in writing, of both Seller and Buyer:
30
31                    (1)       Any material or confidential information, except adverse material facts or risks actually known
32                              by the Licensee concerning the physical condition of the Property and facts required by
33                              statute, rule, or regulation to be disclosed and that could not be discovered by a reasonable
34                              and timely inspection of the Property by the parties.
35
36                    (2)       That a buyer will pay more than the offered purchase price for the Property.
37
38                    (3)       That a Seller will accept less than the listed price for the Property.
39
40                    (4)       \/Vhat motivates a party to buy, sell or lease the Property.
41
42                    (5)       Other terms that would create a contractual advantage for one (1) party over another party.
43
44          Seller and Buyer acknowledge that there will be no imputation of knowledge or information between
45          any party and the limited agent or among Licensees.
46
47          Seller and Buyer acknowledge that they do not have to consent to the limited agency in this transaction.
48
49          Seller and Buyer consent voluntarily to Licensee's limited agency capacity and waive any claims, damages,
50          losses, expenses, including attorneys' fees and costs, against Licensee arising from Licensee's role of
51          limited agent.
52
53          G. PRIOR AGREEMENTS: Seller and Buyer understand this Agreement does not replace prior agreements
54          with Licensee to represent Seller or Buyer. However, where this Limited Agency Agreement contradicts
55          or conflicts with prior agreements, this Limited Agency Agreement shall supersede.
56



                                                                                       (Property Address)
                                                                    Page 1 of 2 (Limited Agency Agreement)

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57   H. CANCELLATION: If the Seller and Buyer do not enter into an agreement relating to the Property or if the
58   transaction fails to close, Seller and Buyer agree that this Agreement is automatically cancelled and the
59   Licensee's role of limited agent is terminated.
60
61   By signature below, the parties verify that they understand and approve this Limited Agency
62   Agreement and acknowledge receipt of a signed copy. This Agreement may be executed
63   simultaneously or In two or more counterparts, each of which shall be deemed an original, but all of
64   which together shall constitute one and the same Instrument. The parties agree that this Agreement
65   may be transmitted between them electronically or digitally. The parties Intend that electronlcally or digitally
66   transmitted signatures constitute original signatures and are binding on the parties. The original document
67   shall be promptly delivered, If requested.




     BUYER'S SIGNATURE                                               DATE                       BUYER'S SIGNATURE                                          DATE



     PRINTED                                                                                   PRINTED




     SELLER'S SIGNATURE                                              DATE                      SELLER'S SIGNATURE                                          DATE



     PRINTED                                                                                   PRINTED




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

IN THE MATTER OF:                                 )           CASE NO.       18-10633
                                                  )           CHAPTER        7
TREVOR JUSTIN WALKER                              )           REG/jd
MELISSA SUE WALKER                                )
                                                  )
       Debtors                                    )

                                 ORDER TO SERVE NOTICE

       On September 06, 2018

       The application to employ Realtors, filed on September 5, 2018, may be granted, without a

hearing, in the absence of any objection following twenty-one days notice to creditors. Movant shall

be responsible for serving notice of the application to employ and the opportunity to object thereto,

in accordance with N.D. Ind. L.B.R. B-2002-2(e), upon all creditors and parties in interest and

making due proof thereof.

       SO ORDERED.


                                                  /s/ Robert E. Grant
                                              Chief Judge, United States Bankruptcy Court
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                                             AIR METHODS                       Page 29
                                                                                    ALLY of 31
                                                                                         FINANCIAL
0755-1                                       PO BO X1280                             PO BOX 380901
Case 18-10633-reg                            Oaks, PA 19456                          Minneapolis, MN 55438-0901
Northern District of Indiana
Fort Wayne Division
Fri Sep 7 11:14:27 EDT 2018
(p)AMERICAN HONDA FINANCE                    ASSOCIATED ANESTHESILOGISTS             BALL MEMORIAL HOSPITAL
P O BOX 168088                               5734 COVENTRY LANE                      2401 W UNIVERSITY AVE
IRVING TX 75016-8088                         Fort Wayne, IN 46804-7141               Muncie, IN 47303-3499



(p)BANK OF AMERICA                        BARCLAYS BANK DELEWARE                     BELTWAY SURGERY CENTER
PO BOX 982238                             PO BOX 8801                                151 PENNSYLVANIA PARKWAY
EL PASO TX 79998-2238                     PHILADELPHIA, PA 19201                     Indianapolis, IN 46280-1379



BLUFFTON REGIONAL MEDICAL CENTER          CAPITAL ONE BANK                           CAPITAL ONE/MENARDS
15679 COLLECTION CENTER DRIVE             PO BOX 30285                               PO BOX 15521
Chicago, IL 60693-0156                    Salt Lake City, UT 84130-0285              Wilmington, DE 19850-5521



CHASE                                     COMENITY BANK/GNDRMTMC                     COMENITY BANK/MARATHON
PO BOX 15298                              PO BOX 182789                              PO BOX 182273
Wilmington, DE 19886-5298                 Columbus, OH 43218-2789                    Columbus, OH 43218-2273



DR. DANA REIHMAN                          DR. MULOKIZI K LUGAKINGIRA                 EMERGENCY MEDICINE OF IN
1050 REID PKWY #130                       4011 W. JEFFERSON BLVD, STE 300            7950 W. JEFFERSON BLVD STE 2121
Richmond, IN 47374-1156                   Fort Wayne, IN 46804-6859                  Fort Wayne, IN 46804-4140



FORT WAYNE ORTHOPAEDICS                   GLA COMPANY                                Nancy J. Gargula
PO BOX 208                                PO BOX 588                                 100 East Wayne Street, 5th Floor
Fort Wayne, IN 46801-0208                 Greensburg, IN 47240-0588                  South Bend, IN 46601-2349



Steven J. Glaser                          HELVEY AND ASSOCIATES                      INNOVATIVE HOSPITAL CARE
132 E. Berry St                           1015 EAST CENTER STREET                    275 WEST 12TH STREET
Fort Wayne, IN 46802-2401                 Warsaw, IN 46580-3420                      Peru, IN 46970-1638



IU HEALTH                                 Indiana Department of Revenue              JAY COUNTY EMERGENCY MEDICAL SERVICE
PO BOX 4374                               Bankruptcy Section - MS 108                901 N CREAGOR AVE
Chicago, IL 60680-4374                    100 North Senate Avenue, N240              Portland, IN 47371
                                          Indianapolis IN 46204-2231


JAY COUNTY HOSPITAL                       (p)JAY COUNTY TREASURER                    KOHLS
500 WEST VOTAW                            120 NORTH COURT ST                         PO BOX 3043
Portland, IN 47371-1399                   STE 203                                    Milwaukee, WI 53201-3043
                                          PORTLAND IN 47371-2198
LAMPCO FCU                      Case 18-10633-reg      Doc 31 Filed 10/04/18
                                             LUTHERAN HOSPITAL                                    Page 30  of 31
                                                                                                       LUTHERAN MEDICAL GROUP
5411 MARTIN LUTHER KING JR BLVD              7950 W JEFFERSON BLVD                                        7836 W JEFFERSON BLVD
Anderson, IN 46013-9720                      Fort Wayne, IN 46804-4160                                    Fort Wayne, IN 46804-4165



MARION GENERAL HOSPITAL                              PARKVIEW HEALTH                                      PARKVIEW HEALTH PHYSICIANS
441 N. WABASH AVE                                    PO BOX 10416                                         10501 CORPORATE DRIVE
Marion, IN 46952-2690                                Des Moines, IA 50306-0416                            Fort Wayne, IN 46845-1700



PAYPAL CREDIT                                        PENNY MAC                                            PREMIER CREDIT OF NORTH AMERICA
PO BOX 5018                                          PO BOX 514387                                        PO BOX 19309
Lutherville Timonium, MD 21094-5018                  Los Angeles, CA 90051-4387                           Indianapolis, IN 46219-0309



PROFESSIONAL ACCOUNT SERVICES                        PROFESSIONAL ACCOUNT SERVICES                        REHABILITATION HOSPITAL OF FORT WAYNE
PO BOX 188                                           PO BOX 68                                            7970 JEFFERSON BLVD
Brentwood, TN 37024-0188                             Brentwood, TN 37024-0068                             Fort Wayne, IN 46804-4140



REID PHYSICIAN ASSOCIATES                            REID PHYSICIANS                                      ROCK MOUNTAIN HOLDINGS
PO BOX 27793                                         PO BOX 27793                                         OP BOX 713362
Salt Lake City, UT 84127-0793                        Salt Lake City, UT 84127-0793                        Cincinnati, OH 45271-0001



SEARS                                                SNOW & SAUERTEIG                                     ST. JOSEPH HOSPITAL
PO BOX 6282                                          203 E. BERRY ST. STE 1100                            700 BROADWAY
Sioux Falls, SD 57117-6282                           Fort Wayne, IN 46802-2715                            Fort Wayne, IN 46802-1493



ST. JOSEPH MEDICAL GROUP                             SUMMIT RADIOLOGY                                     Synchrony Bank
PO BOX 8306                                          PO BOX 2603                                          c/o PRA Receivables Management, LLC
Belfast, ME 04915-8300                               Fort Wayne, IN 46801-2603                            PO Box 41021
                                                                                                          Norfolk, VA 23541-1021


VERIZON WIRELESS                                     Melissa Sue Walker                                   Trevor Justin Walker
PO BOX 25505                                         773 N. 1100 W.                                       773 N. 1100 W.
Lehigh Valley, PA 18002-5505                         Dunkirk, IN 47336-9077                               Dunkirk, IN 47336-9077




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


AMERICAN HONDA FINANCIAL                             BANK OF AMERICA                                      Jay County Treasurer
PO BOX 60001                                         PO BOX 982238                                        Courthouse
City of Industry, CA 91716                           El Paso, TX 79998                                    Portland IN 47371
End of Label Matrix        Case 18-10633-reg   Doc 31   Filed 10/04/18   Page 31 of 31
Mailable recipients   53
Bypassed recipients    0
Total                 53
